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UNI'I‘ED STATES DISTRIC'I‘ COURT wm o-c-
Western District of Tennessee USM`_.’ sz_zs

UNITED S'I‘A'I‘ES OF AMERICA now M W
Plaintiff, CLEH<, U_S_ §{STMCQM
W/D GF s1 %éi~$»iPHhB
VS. Case Number 2:01CR20017-01-D

LEE WAYNE CHAMPION
Defendant.

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ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Lee Wayne Champion, was represented by Doris A. Randle-Holt, Esq.

It appearing that the defendant, who was convicted on July 19, 2001, in the above
styled cause and was placed on Supervised Release for a period of four (4) years and has
violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be

revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of six (6) month¢.

The defendant is remanded to the custody of the United States Marshal.

Signed this the fQJR day of July, 2005.

 

B RNICE B. D NALD
I'I'ED STATES DISTRICT JUDGE

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 03/(.`|8/1969`l
U.S. Marshal No.: 17624-076
Defendant's Mailin»

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ENNESSEE

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

